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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE


In re:                                                                   Chapter 11

THE WEINSTEIN COMPANY HOLDINGS                                           Case No. 18-10601 (MFW)
LLC., et al., 1
                                                                         Jointly Administered
                                                       Debtors.
                                                                         Related Docket Nos. 1695 and 1724

                           THE OFFICIAL COMMITTEE
                   OF UNSECURED CREDITORS’ (I) OBJECTION TO
              SUPPLEMENTAL NOTICE OF FILING OF LIST OF ASSUMED
           CONTRACTS PURSUANT TO SALE ORDER AND (B) JOINDER TO THE
          MOTION OF EXECUTORY CONTRACT COUNTERPARTIES FOR ORDER
           CONFIRMING THAT COUNTERPARTIES’ AGREEMENTS HAVE BEEN
            DESIGNATED BY LANTERN FOR ASSUMPTION AND ASSIGNMENT

                           The Official Committee of Unsecured Creditors (the “Committee”) of the above-

captioned debtors and debtors in possession (the “Debtors”) hereby (a) objects to the

Supplemental Notice of Filing of List of Assumed Contracts Pursuant to Sale Order [Docket No.

846] [Docket No. 1695] (the “Supplemental Assumption Notice”) to the extent it purports to

assume and assign to Lantern executory contracts relating to excluded assets, including, but not

limited to the film and/or television rights of Polaroid and Waco, and (b) joins in the Motion of

Executory Contract Counterparties for Order Confirming that Counterparties’ Agreements Have

Been Designated by Lantern for Assumption and Assignment [Docket No. 1724] (the “Motion to




																																																								
1
      The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are 3837.
      The mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York,
      New York 10013. Due to the large number of debtors in these cases, which are being jointly administered for
      procedural purposes only, a complete list of the Debtors and the last four digits of their federal tax
      identification numbers is not provided herein. A complete list of such information may be obtained on the
      website of the Debtors’ claims and noticing agent at http://dm.epiq11.com/twc.



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Confirm”).2 In support of this Objection and the Motion to Confirm, the Committee respectfully

states as follows:

                                                            OBJECTION

             1.            Pursuant to the Supplemental Assumption Notice, Lantern purports to assume

certain executory contracts related to the Waco film. 3 See, e.g., Supplemental Assumption

Notice at Contract Nos. 5758, 7149, 8880, 22567, 22577, 22579. However, the Waco film – like

the Polaroid film – is an excluded asset because Lantern did not satisfy the project-level debt

associated with the Waco film on the Closing Date. Paragraph 57 of the Sale Order provides:

                           Notwithstanding any provision of the APA or any other provision of this
                           Order to the contrary, the Purchased Assets shall not include any Covered
                           Title or related Title Rights or tax credits solely to the extent such Covered
                           Title or related Title Rights or tax credits relate to project level debt
                           identified on Schedule 2.3 to the APA that is outstanding as of the Closing
                           Date, unless, at or prior to the Closing, a written agreement is reached
                           between the Purchaser and the applicable agents or lenders in respect of
                           such project level debt.

             2.            Upon information and belief, a written agreement was not reached between

Lantern and Opus Bank, the Waco project lender, at or prior to the Closing. Accordingly,

pursuant to paragraph 57 of the Sale Order, the Waco film rights were not transferred to Lantern.

             3.            Lantern attempts to again “muddy the water” by attempting to assume contracts

associated with the Waco film. This fact pattern – seeking to assume contracts associated with

an excluded asset – is identical to the situation the Debtors and Lantern find themselves in with




																																																								
2		   Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion to
      Confirm.	
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      The Supplemental Assumption Notice does not identify a contract by film or television title. For example, the
      Contract Title for Contract No. 35 is RE: AGREEMENT DTD 5/31/2012, ASSIGNMENT DTD 2/6/2013,
      AMENDMENT DTD 6/11/2013. Accordingly, the Committee is unable to confirm whether the Supplemental
      Assumption Notice relates to any other excluded assets, including any additional contracts relating to the
      Polaroid film.

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respect to the Polaroid film. 4 The Committee wants to avoid any further confusion in the

marketplace with respect to the ownership of the film and/or television rights of excluded assets,

including Polaroid and Waco. It would also be a waste of estate resources to require the Debtors

or the Committee to unwind the assumption and assignment to Lantern of contracts relating to

excluded assets, as First Republic Bank is doing now with respect to Polaroid. Accordingly, the

Committee respectfully requests that the Court prohibit the assumption and assignment of any

contracts related to excluded assets, including any contracts relating to the film or television

rights of Polaroid and Waco.

                                                             JOINDER

             4.            As set forth in the Motion to Confirm, the Court and the APA set November 8,

2018 (the “Assumption Outside Date”) as the deadline for Lantern to assume a contract or

designate a Disputed Contract as an excluded asset. In other words, Lantern was required to

resolve all disputes relating to the assumption and assignment of contracts within the 4 month

extension it was provided. The Committee specifically negotiated for the Assumption Outside

Date. Lantern’s commitment to resolve all contract disputes by the Assumption Outside Date

was a critical component to resolving the Committee’s objection to the $21 million purchase

price reduction – establishing the Assumption Outside Date provides finality, allows the Debtors

to begin marketing the estates’ remaining assets, and allows the claims against the estates to be

quantified.




																																																								
4		   On November 15, 2018, First Republic Bank – the Polaroid project-level lender – filed its Motion for Order (I)
      Vacating Docket Number 1574, (II) Lifting Stay With Respect to Producing Services Agreement, and (III)
      Enforcing Prior Orders and Rulings [Docket No. 1716]. Pursuant to the motion, First Republic Bank seeks to
      unwind this Court’s order assuming and assigning to Lantern a contract related to the Polaroid film, an
      excluded asset that the Debtors have released to First Republic Bank.	
	

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        5.         On the Assumption Outside Date, Lantern – without the consent of the Debtors –

filed the Supplemental Assumption Notice. Pursuant to the Supplemental Assumption Notice,

Lantern purports to, among other things, (a) add certain contracts to the Assumed Contracts

Schedule and (b) conditionally add certain contracts to the Assumed Contracts Schedule,

pending a favorable resolution of outstanding disputes.            The Committee objects to the

Supplemental Assumption Notice to the extent that it purports to allow Lantern to designate

contracts as excluded assets after the Assumption Outside Date. The deadline for Lantern to

designate Assumed Contracts as excluded assets was the Assumption Outside Date. Lantern

cannot unilaterally extend the deadline to resolve cure objections. Pursuant to the terms of the

APA, Lantern must assume the contracts it has designated as Assumed Contracts, regardless of

the outcome of any cure objections.

        6.         For the foregoing reasons, the Committee joins the Motion to Confirm to the

extent the relief requested is consistent with this Objection and Joinder.



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Dated: November 26, 2018              PACHULSKI STANG ZIEHL & JONES LLP


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